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                      UNITED STATES DISTRICT COURT
                            DISTRICT OF OREGON
________________________________________________________________________


LIESE BEHRINGER,
      Plaintiff,

v.                                                  Case No. 21-CV-1520-CL

CITY OF ASHLAND, et al.,
      Defendants.
________________________________________________________________________

                     NOTICE OF ISSUANCE OF SUBPOENA
________________________________________________________________________


       PLEASE TAKE NOTICE THAT the attached subpoenas to Medford Police Department

has been issued and will be served.

       Respectfully submitted, this Sixteenth day of January, 2024.

                                             s/Joy Bertrand
                                             Joy M. Bertrand, Esq.
                                             Attorney for the Plaintiff

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The foregoing served via PACER and email
this Sixteenth day of January, 2024 to:

Jennifer Oetter
Counsel for Providence Health and Services
Jennifer.Oetter@lewisbrisbois.com

Tom Armosino
Counsel for the City of Ashland Defendants
Armosino@fdfirm.com
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s/Joy Bertrand
Joy Bertrand




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